Case 22-54299-sms           Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57         Desc Main
                                     Document      Page 1 of 13



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                        )             CASE NO. 22-54299-SMS
VENETTA RENEE WRIGHT,                         )
                                              )             CHAPTER 13
                                              )
   Debtor.                                    )


                    APPLICATION TO EMPLOY SPECIAL COUNSEL


       COMES NOW, The Debtor, by counsel, and files this “Application to Employ Special

Counsel,” showing to this Honorable Court the following:

                                                  1.

       Debtor filed for relief under Chapter 13 on June 6, 2022.

                                                  2.

       This matter is brought pursuant to 11 USC Section 327 and Rule 2014 F. R. Bankr. P.

                                                  3.

       The Debtor, Venetta Renee Wright, was involved in a motor vehicle accident on

December 6th, 2018. No suit has been filed to date. Debtor has retained counsel to represent her in

her personal injury case.

                                                  4.

       Debtor hereby applies to this Court to approve Robert DeMetz, 191 Peachtree Street NE,

Suite 4200, Atlanta, GA 30303, as Debtor’s Special Counsel to prosecute and resolve her bodily

injury claim.

                                                  5.

       Debtor wishes to employ Special Counsel under the terms and conditions set forth in the

employment contract between Special Counsel and Debtor which is attached hereto as Exhibit
Case 22-54299-sms       Doc 28     Filed 10/14/22 Entered 10/14/22 21:58:57             Desc Main
                                  Document      Page 2 of 13



“A”.

                                               6.

       To the best of the Applicant’s knowledge, said attorney has no interest or connection with

the Debtor or the Debtor’s Estate, see the attached Affidavit, marked as Exhibit "B".

                                                7.

       Special Counsel will not receive any compensation for its services in prosecuting the

bodily injury claim without further approval from this Court.



       Wherefore, Debtor prays:

       (a) That this Application be read, filed and considered;

       (b) That this Honorable Court hold a hearing as to this matter;

       (b) that this Application be approved; and,

       (c) that this Honorable Court grant such other and further relief as it deems just and

          proper.


                                                     Respectfully Submitted,

                                                     /s/ Stanley J. Kakol, Jr.
                                                     ______________________________
                                                     Stanley J. Kakol, Jr., GBN 406060
                                                     Attorney for the Debtor
                                                     The Law Office of Stanley J. Kakol, Jr.
                                                     5353 Fairington Road, Suite C
                                                     Lithonia, GA 30038
                                                     (770) 800-0440 phone
                                                     (770) 800-0494 fax
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 3 of 13




                              EXHIBIT A
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 4 of 13
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 5 of 13
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 6 of 13
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 7 of 13
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 8 of 13
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document      Page 9 of 13




                              EXHIBIT B
Case 22-54299-sms   Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57   Desc Main
                             Document     Page 10 of 13
Case 22-54299-sms       Doc 28    Filed 10/14/22 Entered 10/14/22 21:58:57               Desc Main
                                 Document     Page 11 of 13




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        )              CASE NO. 22-54299-SMS
VENETTA RENEE WRIGHT,                         )
                                              )              CHAPTER 13
                                              )
   Debtor.                                    )
                                              )



                                 CERTIFICATE OF SERVICE

       I certify that I have this date served the following parties with a copy of the within and

foregoing Application to Employ Special Counsel by placing a true and correct copy of same in

the United States Mail with adequate postage affixed to insure delivery, addressed to:

K. Edward Safir                                       Robert DeMetz
Chapter 13 Trustee                                    191 Peachtree Street NE,
285 Peachtree Center Ave.                             Suite 4200
Suite 1600                                            Atlanta, GA 30303
Atlanta, GA 30303
                                                      Office of The United Stated Trustee
Venetta Renee Wright                                  75 Ted Turner Drive
2989 Sweetbriar Walk                                  Room 362
Snellville, GA 30039-5262                             Atlanta, GA 30303


                                                     This 14th day of October, 2022

                                                     /s/ Stanley J. Kakol, Jr.
                                                     ______________________________
                                                     Stanley J. Kakol, Jr., GBN 406060
                                                     Attorney for the Debtor
                                                     The Law Offices of Stanley J. Kakol, Jr.
                                                     5353 Fairington Road, Suite C
                                                     Lithonia, GA 30038
                                                     (770) 800-0440 phone
                                                     (770) 800-0494 fax
               Case 22-54299-sms           Doc 28   Filed 10/14/22            Entered 10/14/22 21:58:57      Desc Main
Label Matrix for local noticing                (p)CREDITORS
                                                  Document   BANKRUPTCYPage
                                                                        SERVICE12 of 13        Barclays Bank Delaware
113E-1                                         PO BOX 800849                                   Attn: Bankruptcy
Case 22-54299-sms                              DALLAS TX 75380-0849                            Po Box 8801
Northern District of Georgia                                                                   Wilmington, DE 19899-8801
Atlanta
Mon Sep 5 16:03:57 EDT 2022
Bsi Financial Services                         Calvary SPV I, LLC                              Capital One Auto Finance, a division of Capi
Attn: Bankruptcy                               500 Summit Lake Dr.                             AIS Portfolio Services, LP
Po Box 517                                     Ste. 400                                        4515 N Santa Fe Ave. Dept. APS
Titusville, PA 16354-0517                      Valhalla, NY 10595-2321                         Oklahoma City, OK 73118-7901


Cavalry SPV I, LLC                             Comenity Bank/KingSize                          Comenity Capital Bank/HSN
PO Box 4252                                    Attn: Bankruptcy                                Attn: Bankruptcy Dept
Greenwich, CT 06831-0405                       Po Box 182125                                   Po Box 182125
                                               Columbus, OH 43218-2125                         Columbus, OH 43218-2125


Credit One Bank                                (p)BARRETT DAFFIN FRAPPIER TURNER & ENGEL LL    Emory Eastside Medical Center
Attn: Bankruptcy Department                    4004 BELT LINE ROAD SUITE 100                   Resurgent Capital Services
Po Box 98873                                   ADDISON TX 75001-4320                           PO Box 1927
Las Vegas, NV 89193-8873                                                                       Greenville, SC 29602-1927


(p)FAY SERVICING LLC                           Fed Loan Servicing                              (p)GEORGIA DEPARTMENT OF REVENUE
P O BOX 814609                                 Attn: Bankruptcy                                COMPLIANCE DIVISION
DALLAS TX 75381-4609                           Po Box 69184                                    ARCS BANKRUPTCY
                                               Harrisburg, PA 17106-9184                       1800 CENTURY BLVD NE SUITE 9100
                                                                                               ATLANTA GA 30345-3202

Sonya Buckley Gordon                           Internal Revenue Service                        Stanley J. Kakol Jr.
K. Edward Safir, Standing Chapter 13 Tru       401 W. Peachtree Street, NW                     The Law Offices of Stanley J. Kakol, Jr.
Suite 1600                                     Stop #334-D Room 400                            5353 Fairington Road
285 Peachtree Center Ave, NE                   Atlanta, GA 30308                               Suite C
Atlanta, GA 30303-1229                                                                         Lithonia, GA 30038-1164

LVNV Funding, LLC                              (p)NODA FEDERAL CREDIT UNION                    New Day Funding, LLC & NDF Partners, LLC
Resurgent Capital Services                     ATTN LAURIE MCLESTER                            C/O O’Kelley & /Sorohan
P.O. Box 10587                                 720 ROBERT BLVD                                 Attn: Brian S. Goldberg
Greenville, SC 29603-0587                      SLIDELL LA 70458-1638                           2170 Satellite Blvd, Ste. 375
                                                                                               Duluth, GA 30097-4983

Noda Federal Credit Un                         PRA Receivables Management, LLC                 (p)PORTFOLIO RECOVERY ASSOCIATES LLC
13800 Gentilly Bv                              PO Box 41021                                    PO BOX 41067
New Orleans, LA 70129-2294                     Norfolk, VA 23541-1021                          NORFOLK VA 23541-1067



Quantum3 Group LLC as agent for                K. Edward Safir                                 Synchrony Bank
Genesis FS Card Services Inc                   Standing Chapter 13 Trustee                     c/o PRA Receivables Management, LLC
PO Box 788                                     Suite 1600                                      PO Box 41021
Kirkland, WA 98083-0788                        285 Peachtree Center Ave. NE                    Norfolk, VA 23541-1021
                                               Atlanta, GA 30303-1259

Telecom Self-reported                          U.S. Department of Education                    US Dept Veteran Affairs
Po Box 4500                                    c/o FedLoan Servicing                           Debt Management Center
Allen, TX 75013-1311                           P.O. Box 69184                                  Po Box 11930
                                               Harrisburg, PA 17106-9184                       St. Paul, MN 55111-0930
               Case 22-54299-sms               Doc 28       Filed 10/14/22         Entered 10/14/22 21:58:57              Desc Main
USAA Federal Savings Bank                              United States AttorneyPage 13 of 13
                                                          Document                                          Verizon by American InfoSource as agent
Robertson, Anschutz, Schneid, Crane &                  Northern District of Georgia                         4515 N. Santa Fe Ave
Partners, PLLC                                         75 Ted Turner Drive SW, Suite 600                    Oklahoma City, OK 73118-7901
10700 Abbotts Bridge Road, Suite 170                   Atlanta GA 30303-3309
Duluth, GA 30097-8461

Wells Fargo Bank NA                                    Wilmington Trust, National Association               Venetta Renee Wright
Attn: Bankruptcy                                       c/o Fay Servicing LLC                                2989 Sweetbriar Walk
1 Home Campus Mac X2303-01a                            PO Box 814609                                        Snellville, GA 30039-5262
Des Moines, IA 50328-0001                              Dallas, TX 75381-4609




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


AAFES                                                  Abbey Ulsh Dreher                                    Fay Servicing Llc
Attn: Bankruptcy                                       Barrett Daffin Frappier Turner & Engel,              Attn: Bankruptcy Dept
Po Box 650060                                          Suite 100                                            Po Box 809441
Dallas, TX 75265                                       4004 Belt Line Road                                  Chicago, IL 60680
                                                       Addison, TX 75001

Georgia Department of Revenue                          NODA Federal Credit Union                            Portfolio Recovery Associates, LLC
Attn: Bankruptcy Department                            720 Robert Blvd                                      P.O. Box 41067
1800 Century Boulevard, NE                             Slidell, LA 70458                                    Norfolk, VA 23541
Suite 9100
Atlanta, GA 30345

(d)Portfolio Recovery Associates, LLC
POB 41067
Norfolk VA 23541




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Army & Air Force Exchange Services                  (u)Wilmington Trust, National Association            End of Label Matrix
ATTN: GC-G                                                                                                  Mailable recipients     35
3911 S. Walton Walker                                                                                       Bypassed recipients      2
                                                                                                            Total                   37
